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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                           CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                      §
     Plaintiff,                                §
                                               §
V.                                             §         CR. No. C-08-318 (17)
                                               §
CHRISTINA GUEVARA CARDENAS,                    §
     Defendant.                                §

                     MEMORANDUM OPINION AND ORDER
                   DENYING MOTION FOR REDUCED SENTENCE

         On September 11, 2009, the Court received a letter motion from Defendant Christina

Guevara Cardenas, which has been docketed at the Court’s direction as a motion to reduce

sentence. (D.E. 686.) In it, Cardenas asks that she be given a reduction in her sentence. She

explains that she realizes the gravity and consequences of her actions, and how her children

have been hurt by her criminal conduct. She asks for a reduced sentence in order to allow

her “a second chance to become a better mother and a better person of society.” (D.E. 686

at 1.)

         Cardenas was convicted after a guilty plea and sentenced on May 7, 2009 to 87

months in the custody of the Bureau of Prisons. (D.E. 599, 605.) Final judgment was

entered on May 15, 2009. (D.E. 605.) Cardenas did not appeal.

         Although Cardenas requests a reduction in her sentence, this Court has authority to

modify or      correct a previously imposed sentence only in the “limited number of

circumstances” set out in 18 U.S.C. § 3582(c). United States v. Bridges, 116 F.3d 1110,

1112 (5th Cir. 1997). These circumstances are limited to the following: (1) when the Bureau


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of Prisons moves the Court to modify the sentence for reasons outlined in § 3582(c)(1); (2)

under Fed. R. Crim. P. 35 (on the government’s motion due to substantial assistance or to

correct a clerical mistake within seven days of the date the sentence was imposed); and (3)

when the guidelines under which the defendant was sentenced have been subsequently

lowered, and a modification of sentence is consistent with the guidelines’ policy statements.

See § 3582(c).

       Cardenas fails to assert grounds for modification that fall into any of the categories

above. Thus, this Court is without authority to reduce her sentence and her motion (D.E.

686) is DENIED.


       It is so ORDERED this 20th day of September, 2009.



                                         ____________________________________
                                                    HAYDEN HEAD
                                                    CHIEF JUDGE




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